Case 2:05-cV-024Ol-.]DB-tmp Document 6 Filed 06/14/05 Page 1 of 2 Page|D 3

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UNITED STATESDISTRICTCOURT .

WESTERN DISTRICT OF TENNESSEE 85 JUH ; ;

 

 

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’“’~ ~P»*JPH;Q
O’NEAL DANDRIDGE, JUDGMENT IN A CIVIL CASE
Plaintiff,
V.
OKAEI HOOMAN and JOSE A. BARRIGA, CASE NO: 05-2401-B
Defendants.

 

DECISION BY COURT. This action came to consideration before the Court. The issues have been
considered and a decision has been rendered

IT IS SO ORDERED AND ADJUI)GED that in accordance With the Order Dismissing Action
Without Prejudice entered on June 13, 2005, this cause is hereby dismissed without prejudice.

 

OVED:
i}NIEL BREEN
&ED STATES DISTRICT COURT
f? ii
f ‘Ds OBERTR. D\TR _,EU
Da e Clerk of Court

 

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Notice of Distribution

This notice confirms a copy of the document docketed as number 6 in
case 2:05-CV-02401 Was distributed by faX, mail, or direct printing on
June 15, 2005 to the parties listed.

 

O'Neal Dandridge
3120 Alta Road
Memphis7 TN 3 8109

Honorable J. Breen
US DISTRICT COURT

